Case 2:01-mc-00021-KSH Document 62 Filed 04/03/07 Page 1 of 5 PagelD: 176
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a
U.S. Departinent of Justice = PROCESS RECEIPT AND RETURN
United States Marshals Service See-“Instructions for Service of Process by U.S. Marshal"
PLAINTIFF eee COURT CASE NUMBER
Judgment Holder Windsor Asset Management, Inc. eens ae ee 2:01-mc-0002]-KSH
DEFENDANT feb TPN TE TYPE OF PROCESS
Walsh Securities Corp. a/k/a Walsh Securities, Inc. et al, bint

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR of TR OF B ore. TO SEIZE OR CONDEMN

SERVE J Robert A. Magnanini, Esquire Boies Schiller & Flexner, LLP
AT ADDRESS (Street or RED, Apartment No., City, State and ZIP Code)

150 JFK Parkway Short Hills, NJ 07078

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be mo

= cnonntnmenenenreed — setved with this Form 285

Keith A. Bonchi, Esquire

Goldenberg, Mackler, Sayegh, Mintz, Pfeffer, Bonchi & Gill
660 New Road, Suite LA
Northfield, NJ 08225

Number of parties to be
served in this case

Check for service
onU.s.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST EN EXPEDITING SERVICE (nclude Business and Alternate Addreites
Ali Telephone Numbers, and Estimated Times Available for Service):

Fold Fold

Judgment Holder, Windsor Asset Management, Inc.

Signature It other Opgiyator requesting service on behalf of: ‘Chapa TELEPHONE NUMBER DATE
Cloeepant | (609) 646-0222 2 |o7/07
SPACE BELOW F FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
[acknowledge receipt forthe total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date

fumber of process indicated. Origin Serve
(Sign only for USM 285 if more OQ Ly 7
than one USM 285 is submitted) No. S 0 no2_D

[hereby certify and return that [ [J have personally served Oo have legal evidence of service, have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., ai the address shown above on the on the individdfal , company, corporation, etc. shown at the address inserted belaw.

Pr hereby certify and return that [ am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of iy scrv Ag not shown above) (1 A person of suitable age and discretion
, ‘ vale then residing in defendant's usual place
Hiss Howl flirts oy bebed A Udegeduht 25
Address tomplete only B tbe than shown As. f if Date Time
am
Sree
fy pe: 2 Labi f Fo Am
7 7

Service Fee Tota] Mileage Charges} Forwarding Fee Total Charges Advance Deposits | Amount owed at karo or

Af, & 79,3 “ 5 YAK i 06 OO _ $0.00 Us oY

REMARKS: 190 /T@ it ExXeenTion For Robern A, Hagaavin: was
giver Je his bg Me fern. Mr, Magdi ne LQ AL AV POA)

sxe OA)
aM Me eeu lore |. A OF THE COURT

2. USMS RECORD
3. NOTICE OF SERVICE

4. BILLING STATEMENT?*: To be returned to the U.S. Marshal with payment, Form USM-285

if any amount is owed. Please remit promptly payable to U.S. Marshal. Rev. 12/15/80
5. ACKNOWLEDGMENT OF RECEIPT Automated 01/00

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PRIOR EDITIONS MAY BE USED
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UNITED STATES DISTRICT COURT
etinp! Pi &: BOR THE DISTRICT OF NEW JERSEY

Civil Action No. 2:01-mc-00021-KSH

Case No, 98-0223
PLURIES WRIT OF EXECUTION
FOR REGISTERED JUDGMENTS

TO THE MARSHAL OF THE UNITED STATES DISTRICT COURT, DISTRICT OF
NEW JERSEY

WHEREAS, judgment was entered on the 4" day of January, 2001 in an action in the
United States District Court, Southern District of New York between Cityscape Corp.
piaintifi(s) and defendant(s) in favor of said Cityscape Corp. and against said Walsh Securities
Corp., a/k/a Walsh Securities, Inc., a/k/a Walsh Securities Incorporated, a/k/a Walsh
Holdings, a/k/a Walsh Holdings, LLC, a/k/a Walsh Holdings, Inc., a/k/a Walsh Property,
Inc., a/k/a Walsh Property, LLC, ffk/a GF Mortgage Corp., GF Holdings, Inc., a/k/a GF
Holdings, LLC, a/k/a GF Property, Inc., a/k/a GF Property LLC, n/k/a Equity Rewards
Mortgage, Inc., a/k/a WSI, Inc., a/k/a Fireside Financial, Inc., a/k/a Real Money, Ine. for the
sum of $4,732,568.93 and costs taxed in the sum of $-0- (the “Judgment”) and assigned to
Cherokee Solutions, Inc., n/k/a Cherokee Resolutions, Inc. by Assignment of Judgment dated
May 26, 2004 and assigned to Windsor Asset Management, Inc. (the “Judgment Holder”)
by Assignment of Judgment dated February 8, 2006 as appears by the Judgments filed in the
Office of the Clerk of the United States District Court, District of New Jersey; and

WHEREAS, the said Judgment was duly entered in the Office of the Clerk of the United
States District Court, District of New Jersey, and the sum of $4,732,568.93, plus taxed costs! in
the sum of $-0- , plus post-judgment interest’ is now actually due thereon;

THEREFORE, you are hereby commanded to satisfy the said Judgment out of the
personal property of the said judgment debtor, as set forth in the attached affidavit, which
specifically includes any future settlement proceeds in the matter of Walsh Securities, Inc. v.
Cristo Property Management (Civil Action No, CV-97-3496) which come into the
possession, custody or control of Robert A. Magnanini, Esquire or the law firm of Boies
Schiller & Flexner, LLP within one (1) year after the date of this execution, and if sufficient
personal property cannot be found, then out of the real property belonging to such judgment
debtor at the time said Judgment was entered in the Office of the Clerk of this Court, or at any
time thereafter, in whosoever hands the same may be, as set forth in the attached affidavit and
that you do pay the moneys realized by you from such property directly to said Judgment
Holder or to their attorney in the said action, and return this execution and your proceedings
thereon within one (1) year after date of its issuance to the Clerk of the United States District
Court, District of New Jersey.

"The Judgement Holder reserves the right make an application to add on the costs and legal fees for post judgment
collection efforts.

* The Judgment Holder reserves the right to add on additonal post-judgment interest that has accrued on the
Judgment since January 2, 2007, in the event that the principal amount of the Judgment is satisfied by assets seized.

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WE FURTHER COMMAND YOU, that in case of a sale, you make return of this Writ
with your proceedings thereon before said Clerk and pay to the Clerk of this Court any surplus in
your hands within thirty (30) days after said sale.

WITNESS, the Honorable ! \h be i. . , a Judge of the
United States District Court, District of New Jersey this ayof Wacth >
2007.

Prepared by: William T. Walsh, Clerk
Yn United States District Court
Goue-
Keith A. Bonchi, Esquire ) a Deputy Clerk
LEVY:
Address: Goldenberg, Mackler, Sayegh, Damages $4,732,568.93
Mintz, Pfeffer, Bonchi & Gill Costs $ -0-
660 New Road, Suite 1A Interest” from January 4,2001 $1,515,621.10
Northfield, NJ 08225 SUBTOTAL $6,248,190.03
Less Collections & Credits $ 152,948.27
TOTAL DUE: $6,095,241.76

Besides Marshal’s Execution Fees

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Civil Action No. 2:01-mc-00021-KSH
Case No. 98-0223

PLURIES WRIT OF EXECUTION FOR REGISTERED JUDGMENTS

COUNTTY OF ATLANTIC:
AFFIDAVIT
STATE OF NEW JERSEY:
KEITH A. BONCHI, ESQUIRE being duly sworn, says:
1. | am the attorney for Judgment Holder/Creditor in the matter of Cityscape Corp.

v. Walsh Securites, Corp., Misc. Action No. 2:01-00021 (KSH), Case No. 98-0223, and in that
capacity and in conformance with N.J.S. 2A:17-1, et. seq., as made applicable to this case by
Rule 69(a), Fed. R. Civ. P., I have reviewed documents and information regarding the judgment
debtor’s assets as provided on behalf of the judgment debtor, if any were so provided, as well as

public records thereof.

2. I have determined the following non-exempt personal property of the judgment
debtor is subject to execution in satisfaction of the judgment therein:

PROPERTY DESCRIPTION

PROPERTY LOCATION

Any and all assets or the proceeds of any
settlement in the name of Walsh Securities
Corp., a/k/a Walsh Securities, Inc., a/k/a
Walsh Securities Incorporated, a/k/a Walsh
Holdings, a/k/a Walsh Holdings, LLC, a/k/a
Walsh Holdings, Inc., a/k/a Walsh Property,
Inc., a/k/a Walsh Property, LLC, f/k/a GF
Mortgage Corp., GF Holdings, Inc., a/k/a
GF Holdings, LLC, a/k/a GF Property, Inc.,
a/k/a GF Property LLC, n/k/a Equity
Rewards Mortgage, Inc., a/k/a WSI, Inc.,
a/k/a Fireside Financial, Inc., a/k/a Real
Money, Inc. (collectively “Walsh
Securities”), in the possession, custody or
control of Robert A. Magnanini, Esquire or the
law firm of Boies, Schiller & Flexner,
including but not limited to any proceeds from
the matter of Walsh Securites, Inc. v. Cristo
Property Management (Civil Action No. CV-
97-3496). This includes any settlement
proceeds to come into the possession of the
Boies, Schiller & Flexner law firm.

Contact at Location:
Robert A. Magnanini, Esq.
(973) 218-1111

Boies Schiller & Flexner, LLP
150 JFK Parkway
Short Hills, NJ 07078

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3, I have determined the following non-exempt real property of the judgment debtor
is subject to execution in satisfaction of the judgment therein:

be CL

KEITH A. BONCHI, ESQUIRE

Subscribed and sworn before me this ABA
day of February, 2007

RETURNABLE ON OR BEFORE
3-9-8008

Recorded f the Clerk’s Office of the United States District Court for the District of New Jersey

in Book NCfof Execution, Page YO.

William T. Walsh, Clerk
United States District Court

— Deputy Clerk
